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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION AT ASHLAND
                                    CASE NO. 15-cv-112

Ray Fultz, Executor of the                                                          PLAINTIFF
Estate of Plummer Fultz

v.

Diversicare Leasing Corp. d/b/a
Elliott Nursing & Rehabilitation Center                                           DEFENDANT

                        AGREED STIPULATION TO DISMISSAL
       Come the parties, Ray Fultz, as Executor of the Estate of Plummer Fultz, and Defendant,

Diversicare Leasing Corporation d/b/a Elliott Nursing & Rehabilitation Center and, by agreement,

hereby stipulate to the dismissal with prejudice of all claims and causes of action herein. Each

party shall bear its own costs with respect to these dismissed claims. The parties hereby tender a

proposed order of dismissal for the Court’s consideration.

                                             Agreed to by:

                                             /s/Kevin Murphy ___________________
                                             Kevin M. Murphy
                                             kmurphy@gsblegal.com
                                             401 West Main Street, Suite 1000
                                             One Riverfront Plaza
                                             Louisville, Kentucky 40202
                                             Telephone: (502) 618-5700
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                                             Counsel for Defendant

                                             /s/Matthew R. Malone (by permission given to
                                             KMM on 09/26/2017) ___________________
                                             Aaron D. Reedy
                                             areedy@hdmfirm.com
                                             Matthew R. Malone
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